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     [ADDITIONAL COUNSEL LISTED ON
10   SIGNATURE PAGE]
11   Attorneys for Defendant Google LLC
12
                         UNITED STATES DISTRICT COURT
13
                       SOUTHERN DISTRICT OF CALIFORNIA
14
                                SAN DIEGO DIVISION
15
16
     VEDANTI LICENSING LIMITED,            CASE NO. 3:20-CV-01344-BEN-WVG
17   LLC,
                                           REQUEST FOR JUDICIAL
18                 Plaintiff,              NOTICE IN SUPPORT OF
                                           DEFENDANT’S MOTION TO
19        vs.                              DISMISS PURSUANT TO FED. R.
                                           CIV. P. 12(B)(6) AND MOTION TO
20   GOOGLE LLC,                           STRIKE PURSUANT TO FED. R.
                                           CIV. P. 12(F)
21                 Defendant.
                                           Date: November 16, 2020
22                                         Time: 10:30 a.m.
                                           Judge: Hon. Roger T. Benitez
23                                         Courtroom 5A
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1            Defendant Google LLC (“Google”) respectfully requests that the Court
2    consider certain documents identified below in connection with Google’s Motion to
3    Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) and Motion to Strike Pursuant to Fed.
4    R. Civ. P. 12(f) (“Motion”) because: (1) the Court may take judicial notice of the
5    following documents and certain terms contained therein pursuant to Federal Rule
6    of Evidence 201 and related authority; and (2) certain documents were referenced
7    or relied upon in the First Amended Complaint (Dkt. 20) (“FAC”) as identified
8    below. These documents are attached as Exhibits to the Declaration of Robert W.
9    Unikel in Support of Defendant’s Motion (“Unikel Declaration”).
10   Exhibit        Description                              Basis
11   Ex. A          U.S. Patent Office’s record of           FRE 201 and because
                    assignment history for U.S. Patent No.   referenced or relied upon
12                  7,974,339 (“the ’339 Patent”)            in FAC
13   Ex. B          LLC Registration for Vedanti             FRE 201
                    Licensing Limited LLC from the
14                  California Secretary of State
15   Ex. C          IPR2016-00212, Final Written             FRE 201 and because
                    Decision (May 17, 2017)                  referenced or relied upon
16                                                           in FAC
17   Ex. F          IPR2016-00212, Patent Owner Vedanti FRE 201
                    Systems Limited’s Mandatory Notices
18                  (Dec. 9, 2015)
19   Ex. G          IPR2016-00212, Patent Owner’s            FRE 201
                    Updated Mandatory Notice (Aug. 11,
20                  2016)
21   Ex. H          IPR2016-00212, Patent Owner’s Third FRE 201
                    Updated Mandatory Notice (Jan. 12,
22                  2017)
23   Ex. J          Assignment of U.S. Patent No.            FRE 201 and because
                    7,974,339 to Vedanti Licensing           referenced or relied upon
24                  Limited (UK) (Sep. 29, 2016)             in FAC

25   Ex. K          Assignment of U.S. Patent No.            FRE 201 and because
                    7,974,339 to Vedanti Licensing           referenced or relied upon
26                  Limited LLC (June 30, 2020)              in FAC

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1          Federal Rule of Evidence 201 authorizes this Court to take judicial notice of
2    facts “not subject to reasonable dispute” that “can be accurately and readily
3    determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
4    Evid. 201(b). The Rule mandates that judicial notice be taken “if a party requests it
5    and the court is supplied with the necessary information,” id. at 201(c), and
6    authorizes judicial notice “at any stage of the proceeding,” id. at 201(d). See Mir v.
7    Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir. 1988) (“In addition to the
8    complaint, it is proper for the district court to ‘take judicial notice of matters of
9    public record outside the pleadings’ and consider them for purposes of the motion
10   to dismiss.”) (citation omitted).
11         It is well settled that records and reports from government agencies are the
12   proper subject of judicial notice. See, e.g., Barron v. Reich, 13 F.3d 1370, 1377 (9th
13   Cir. 1994) (judicial notice may be taken of “[r]ecords and reports of administrative
14   bodies”); Cota v. Maxwell-Jolly, 688 F. Supp. 2d 980, 998 (N.D. Cal. 2010) (“The
15   Court may properly take judicial notice of the documents appearing on a
16   governmental website.”).
17         Specifically, it is appropriate to take judicial notice of the PTAB’s Final
18   Written Decision (Ex. C) and other PTAB filings (Exs. F–H). See Papai v. Harbor
19   Tug & Barge Co., 67 F.3d 203, 207 n.5 (9th Cir. 1995), rev’d on other grounds,
20   520 U.S. 548 (1997) (“Judicial notice is properly taken of orders and decisions
21   made by other courts or administrative agencies.”); PersonalWeb Techs. LLC v.
22   Google LLC, No. 5:13-cv-01317-EJD, 2020 WL 520618, at *6 n.4 (N.D. Cal. Jan.
23   31, 2020) (“The IPR materials cited by Defendants and Plaintiff are subject to
24   judicial notice.”) (appeal filed).
25         The ’339 Patent’s assignment history (Exs. A, J, K), as reflected by the PTO
26   records, is also eligible for judicial notice. “Because the USPTO documents are
27   public records ‘capable of accurate and ready determination by resort to sources
28   whose accuracy cannot be questioned,’ judicial notice is proper.” Seoul Laser

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1    Dieboard Sys. Co. v. Serviform, S.r.l., 957 F. Supp. 2d 1189, 1194 n. 2 (S.D. Cal.
2    2013); Certified Nutraceuticals, Inc. v. Avicenna Nutraceutical, LLC, No. 3:16-cv-
3    02810, 2018 WL 4385368, at *1 (S.D. Cal. Sept. 14, 2018) (“The Court takes
4    judicial notice of the ’319 Patent’s assignment history, which is publicly available
5    on the United States Patent and Trademarks Office’s (‘USPTO’s’) website”).
6          Further, the Court may properly take judicial notice of the LLC Registration
7    for Vedanti Licensing Limited LLC from the California Secretary of State (Ex. B).
8    Courts in this district routinely do so. See, e.g., Kearny Mesa Real Estate Holdings,
9    LLC v. KTA Constr., Inc., No. 17-cv-207, 2017 WL 3537753, at *3 (S.D. Cal. Aug.
10   16, 2017) (taking judicial notice of a Certificate of Registration issued by the
11   California Secretary of State); Phillips v. Wells Fargo Bank, N.A., No. 09-cv-1486,
12   2009 WL 3756698, at *3 (S.D. Cal. Nov. 6, 2009) (taking judicial notice of a copy
13   of the California Secretary of State’s office records regarding the status of a foreign
14   limited liability company as an active and registered foreign entity).
15         The Court may also take judicial notice of the USPTO assignment records
16   and the Final Written Decision of the PTAB because “they are integral to the
17   plaintiff’s claims and their authenticity is not disputed.” simplehuman, LLC v.
18   iTouchless Housewares & Prods., Inc., No. 19-cv-02701, 2019 WL 5963245, at *2
19   (N.D. Cal. Nov. 13, 2019) (citing Parrino v. FHP, Inc., 146 F.3d 699, 705–06 (9th
20   Cir. 1998), superseded by statute on other grounds as stated in Abrego Abrego v.
21   The Dow Chem. Co., 443 F.3d 676, 681 (9th Cir. 2006)). Although the USPTO
22   assignment records (Exs. A, J, K) are not attached to Plaintiff’s FAC, the FAC
23   bases its alleged standing to bring this action on Plaintiff’s claim that it “is the
24   owner by assignment of all rights, title, and interests in the ‘339 Patent and the
25   Vedanti Source Code and is entitled to sue for past and future infringement
26   thereof.” Dkt. 20, ¶ 22. Thus, the assignment records are an integral part of
27   Plaintiff’s claims. The Final Written Decision (Ex. C) is referenced in the FAC and
28   is integral to Vedanti’s claims (i.e., which patent claims Vedanti is eligible to

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1    assert). In its FAC, Vedanti states “the PTAB determined on May 17, 2017 that
2    claims 1, 6, 7, 9, 10, 12, and 13 of the ’339 Patent were unpatentable under 35
3    U.S.C. 103 over the combination of the Spriggs and Golin references . . . the
4    remaining claims of the ‘339 Patent—claims 2, 3, 4, 5, 8, and 11—are still valid
5    and enforceable today.” Dkt. 20, ¶¶ 34–35. The Court may properly take judicial
6    notice of these records because they are officially published on and publicly
7    accessible on the USPTO website. Thus, they are ascertainable, verifiable, and their
8    accuracy cannot be reasonably questioned. Fed. R. Evid. 201(b)(2).
9          Therefore, Google requests that the Court take judicial notice of Exhibits A–
10   C, F–H, and J–K of the Unikel Declaration.
11
     DATED: October 13, 2020             Respectfully submitted,
12
                                         By: /s/ Robert W. Unikel
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                                              -4-       NO. 3:20-CV-01344-BEN-WVG
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